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  8                          UNITED STATES DISTRICT COURT
  9                        SOUTHERN DISTRICT OF CALIFORNIA
 10
 11    PERLA CENTELLA,                                      CASE NO. 07CV2348-LAB
                                                            [Related Case No. 06CR1195-LAB]
 12                                    Petitioner,
              vs.
 13                                                         ORDER DENYING MOTION TO
                                                            VACATE, SET ASIDE, OR
 14                                                         CORRECT SENTENCE
       UNITED STATES OF AMERICA,
 15                                                          [Dkt No. 203]
                                    Respondent.
 16          Petitioner Perla Centella ("Centella" or "Petitioner") moves pursuant to 28 U.S.C.
 17
      § 2255 to vacate, set aside or correct her sentence ("Motion") following her guilty plea and
 18
      sentencing in Criminal Case No. 06cr1195-LAB.            By the express terms of her Plea
 19
      Agreement, and on the record of her change of plea and sentencing hearings, Petitioner
 20
      waived her right to seek collateral relief. Accordingly, the Motion is DENIED.
 21
             Petitioner was represented by counsel throughout her criminal case. She appeared
 22
      with co-defendants before Magistrate Judge William McCurine, Jr. on September 15, 2006
 23
      to enter a plea of guilty to one charge of bringing illegal aliens into the United States for
 24
      financial gain and aiding and abetting, out of a 15-count Indictment against her and seven
 25
      other defendants. Reporter’s Transcript of 9/15/06 Disposition Hearing ("Dispo. R.T."). On
 26
      the record at that hearing, Petitioner acknowledged: she was satisfied with the advice her
 27
      attorney had given her (Dispo R.T. 4:17-19); she understood the rights recited on the record
 28
      she was giving up by pleading guilty (Dispo R.T. 5:22-6:1); she understood the elements of

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  1   the indictment count she was pleading guilty to as read to her on the record (Dispo. R.T. 6:6-
  2   7:7); she admitted the factual basis for her plea as recited in the written plea agreement and
  3   as read into the record (Dispo. R.T. 712-9:3); and she understood the maximum penalties
  4   she could face if she pled guilty as recited on the record (as pertinent here, no less than a
  5   three-year sentence, and a possible maximum 10-year prison term) (Dispo. R.T. 19:4-17,
  6   23:13-17). In addition, the Magistrate Judge recited:
  7                          THE COURT: Okay. Madam and gentlemen, there are
                             two terms in your plea agreement[s] that I want to make
  8                          sure you understand. One term is appeal, and the other
                             is collateral attack. These terms are relevant because
  9                          you are giving up certain rights to appeal or collaterally
                             attack under certain conditions. [¶] An appeal means to
 10                          go to a higher court and ask that higher court to review or
                             change some action taken at this Trial Court level where
 11                          your case is currently being prosecuted. A collateral
                             attack means to go to some tribunal or other authority
 12                          some place else, and before that other tribunal challenge
                             the validity of your plea, conviction or sentence in this
 13                          court. [¶] Do you understand those two terms?
 14                 DEFENDANT CENTELLA: Yes.
 15   Dispo. R.T. 26:10-24.
 16          The Magistrate Judge then read into the record read from Centella's plea agreement:
 17                 THE COURT: . . . In exchange for the Government's
                    concessions in this plea agreement, Defendant waives to th[e]
 18                 full extent of the law any right to appeal or to collaterally attack
                    the conviction and sentence, including any restitution order,
 19                 unless the court imposes a custodial sentence greater than the
                    high end of the guideline range or statutory mandatory minimum
 20                 term if it applies. If the –- recommended by the United States
                    pursuant to this plea agreement at the time of sentencing. [¶]
 21                 If the custodial sentence is greater than the high end of that
                    range, the Defendant may appeal, but the Government will be
 22                 free to support on appeal the sentence actually imposed. If
                    Defendant believes the Government's recommendation is not in
 23                 accord with this plea agreement, Defendant will object at the
                    time of sentencing. Otherwise, the objection will be deemed
 24                 waived. [¶] Do you understand, each of you, that that is part of
                    your plea agreement?
 25
                    DEFENDANT CENTELLA: Yes.
 26
      Dispo. R.T. 27:5-23.
 27
             The Magistrate Judge then verified with Petitioner that the signature and the initials
 28
      on her Plea Agreement were in fact hers. Dispo. R.T. 30:6-15. She again responded in the

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  1   affirmative when asked whether she was satisfied with the advice her attorney had given her.
  2   Dispo. R.T. 32:22-24. She then entered her guilty plea. Dispo. R.T. 34:10-14.
  3          Petitioner was sentenced on February 12, 2007 by the undersigned District Judge for
  4   the conviction of bringing undocumented aliens into the United States for financial gain. On
  5   the record, her counsel confirmed that conviction for violation of 8 U.S.C. § 1324 carried a
  6   three-year mandatory minimum sentence, and argued extensively on Centella's behalf
  7   regarding her family history and characteristics, her remorse, her lack of criminal history, her
  8   strong attachments to her husband and children, and the like. Her counsel noted "were Ms.
  9   Centella sentenced simply in accordance with the Guidelines, she would be looking to have
 10   an 18-months sentence," but acknowledged "instead, the three-year mandatory minimum
 11   takes precedence." R.T. 4:11-14. The prosecutor requested the court sentence Petitioner
 12   to the minimum mandatory sentence of 36 months in custody, noting: "She would have been
 13   charged with a five-year minimum mandatory, and she was allowed to plead to one count
 14   for financial gain and the court to impose a term of supervised release." R.T. 10:14-19.
 15          The court agreed with defense counsel "under ordinary circumstances somewhere
 16   between 18 and 24 months would be the right sentence in this case," with probably the
 17   higher end appropriate "given the scope and duration" of the smuggling enterprise. R.T.
 18   11:9-16. "But all of this is academic because pursuant to 5(g)(1) of the Guidelines, there is
 19   a mandatory required sentence of three years given that Ms. Centella has plead guilty to
 20   bringing in undocumented aliens for financial gain." R.T. 11:17-20. "So the court finds that
 21   it has no choice but to impose the minimum required sentence of 36 months . . . to be
 22   followed by a period of supervised release of three years." R.T. 12:18-21. The court
 23   expressly confirmed with defense counsel: "I believe this sentence comports with what was
 24   bargained for in the plea agreement and triggers a waiver of any right to appeal or
 25   collaterally attack the judgment of the court in the future." R.T. 13:22-14:1.
 26          Against that record, Petitioner nonetheless filed a 28 U.S.C. § 2255 motion for writ
 27   of habeas corpus, alleging: (1) ineffective assistance of counsel; (2) violation of plea
 28   agreement; (3) violation of right to appeal; and (4) violation of presentence report. The


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  1   Government has filed a Response. Petitioner's attempted Reply to Response is being
  2   separately rejected by Discrepancy Order.
  3          The court finds the Petition to be without merit, and enforces her waiver of collateral
  4   attack in the written Plea Agreement and as recited on the record at both her change of plea
  5   hearing and her sentencing. She received the custodial sentence contemplated by her plea
  6   Agreement, a mandatory minimum for her conviction. Her waiver bars any claim other than
  7   an unknowing or involuntarily entered plea agreement. The record belies any such
  8   contention, and she makes no threshold showing her counsel could be found ineffective
  9   under the applicable standard of Strickland v. Washington, 466 U.S. 668, 690-92 (1984) on
 10   grounds (1) her attorney’s performance was deficient, and (2) that deficient performance
 11   prejudiced her defense. A waiver of the right to file a collateral challenge is unenforceable
 12   only with respect to an ineffective assistance of counsel claim implicating the voluntariness
 13   of the waiver. Washington v. Lampert, 422 F.3d 864 (9th Cir. 2005). Two judges, at points
 14   prior to her change of plea and the prior to imposition of sentence, ensured Petitioner's
 15   waivers were voluntary. The transcripts of the plea and sentencing hearings on their face
 16   belie Petitioner's representations. The Court finds any attempt to appeal or to collaterally
 17   attack her conviction or sentence is inconsistent with and foreclosed by her valid waivers of
 18   those rights, as expressly incorporated into her Plea Agreement, the record of her change
 19   of plea hearing, and the sentencing record.
 20          For all the foregoing reasons, IT IS HEREBY ORDERED the Motion is DENIED and
 21   the case is DISMISSED WITH PREJUDICE.
 22          IT IS SO ORDERED.
 23   DATED: March 21, 2008
 24
 25                                               HONORABLE LARRY ALAN BURNS
                                                  United States District Judge
 26
 27
 28


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